                        4:21-cv-04061-SLD # 6     Filed: 04/19/21     Page 1 of 1
                                                                                                    E-FILED
Judgment in a Civil Case (02/11)                                          Monday, 19 April, 2021 02:30:41 PM
                                                                               Clerk, U.S. District Court, ILCD
                             UNITED STATES DISTRICT COURT
                                               for the
                                      Central District of Illinois

Leon Snipes,                                  )
                                              )
              Plaintiff,                      )
                                              )
                     vs.                      )                 Case Number: 21-cv-4061
                                              )
Attorney Edward S. Glazar, Jr., Kathleen T    )
Zellner, James D Montgomery, Sr., Elliot R    )
Schiff, martin A Dolan, Arthur R., Jon Loevy, )
Donald a Shapiro, John M McCarthy, Peter A. )
Carusona, Paul J Glaser, and John Jamie Boyd, )
                                              )
              Defendants.                     )

                                   JUDGMENT IN A CIVIL CASE

  ☐ JURY VERDICT. This action came before the Court for a trial by jury.              The issues
have been tried and the jury has rendered its verdict.

  ☒ DECISION BY THE COURT.                  This action came before the Court, and a decision has
been rendered.

       IT IS ORDERED AND ADJUDGED that the case is dismissed without prejudice.

Dated:       4/19/2021

                                                        s/ Shig Yasunaga
                                                        Shig Yasunaga
                                                        Clerk, U.S. District Court
